  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

     MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


PATRICK L. EDWARDS and        )
TERESA K. EDWARDS,            )
                              )
     Plaintiffs,              )
                              )        CIVIL ACTION NO.
     v.                       )          2:18cv55-MHT
                              )              (WO)
U.S. BANK NATIONAL            )
ASSOCIATION, et al.,          )
                              )
     Defendants.              )

                          JUDGMENT

    In accordance with the memorandum opinion entered

today, it is the ORDER, JUDGMENT, and DECREE of the

court as follows:

    (1) The    United      States      Magistrate    Judge's

recommendation (doc. no. 11) is adopted.

    (2) Plaintiff’s      claims     under   the   Fair    Debt

Collection Practices Act are dismissed with prejudice

pursuant to 28 U.S.C. § 1915(e)(2)(B)(ii) due to the

passage of the statute of limitations.
    (3)     Plaintiff’s       claims        under       state    law      are

dismissed        without      prejudice       due        to      lack      of

subject-matter jurisdiction.

    No costs are taxed.

    The clerk of the court is DIRECTED to enter this

document    on    the    civil     docket    as     a    final    judgment

pursuant    to    Rule   58   of    the   Federal       Rules    of     Civil

Procedure.

    This case is closed.

    DONE, this the 24th day of September, 2019.

                                      /s/ Myron H. Thompson
                                   UNITED STATES DISTRICT JUDGE
